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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JEFFREY McCARVER,
                                                Case No. 2:21-cv-11591
            Plaintiff,
v.                                              Judge

TARGET STORES, INC., a Foreign Profit
Corporation, individually and d/b/a TARGET
STORE #279

TARGET CORPORATION, a Foreign Profit
Corporation, individually and d/b/a TARGET
STORE #279

            Defendants.

BRIAN L. FANTICH (P60935)               KENNETH P. WILLIAMS (P55790)
CARRA J. STOLLER (64540)                Segal, McCambridge Singer &
ADAM J. GANTZ (P58558)                  Mahoney
Law Office of Kelman & Fantich          Attorney for Defendants
Attorneys for Plaintiff                 29100 Northwestern Hwy., Suite 240
30903 Northwestern Hwy., Suite 270      Southfield, MI 48034
Farmington Hills, MI 48334              (248) 994-0060 / (248) 994-0061 (fax)
(248) 855-0100 / (248) 855-3557 (fax)   kwilliams@smsm.com

                DEFENDANTS’ ANSWER TO COMPLAINT
     DEFENDANTS’ SPECIAL AND/OR AFFIRMATIVE DEFENSES

      NOW COME the Defendants, TARGET STORES, INC. and TARGET

CORPORATION, by and through their attorneys, SEGAL McCAMBRIDGE

SINGER & MAHONEY, LTD., by Kenneth P. Williams, and for Answer to

Complaint, states as follows:
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      1.     In answer to paragraph 1, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      2.     In answer to paragraph 2, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      3.     In answer to paragraph 3, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      4.     In answer to paragraph 4, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      5.     In answer to paragraph 5, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      6.     In answer to paragraph 6, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.




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      7.     In answer to paragraph 7, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      8.     In answer to paragraph 8, Defendants deny the allegations contained

therein for the reason they are not true.

      9.     In answer to paragraph 9, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      10.    In answer to paragraph 10, including subparagraphs (a) through (d),

Defendants deny the allegations contained therein for the reason they are not true.

      11.    In answer to paragraph 11, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      12.    In answer to paragraph 12, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      13.    In answer to paragraph 13, Defendants deny the allegations contained

therein for the reason they are not true.

      14.    In answer to paragraph 14, Defendants deny the allegations contained

therein for the reason they are not true.


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      15.    In answer to paragraph 15, including subparagraphs (a) through (f),

Defendants deny the allegations contained therein for the reason they are not true.

      16.    In answer to paragraph 16, Defendants neither admit nor deny the

allegations contained therein for the reason that Defendants lack knowledge or

information sufficient to form a belief as to the truth thereof.

      17.    In answer to paragraph 17, Defendants deny the allegations contained

therein for the reason they are not true.

      18.    In answer to paragraph 18, Defendants deny the allegations contained

therein for the reason they are not true.

      19.    In answer to paragraph 19, Defendants deny the allegations contained

therein for the reason they are not true.

      20.    In answer to paragraph 20, Defendants deny the allegations contained

therein for the reason they are not true.

      21.    In answer to paragraph 21, Defendants deny the allegations contained

therein for the reason they are not true.

      WHEREFORE, Defendants, TARGET STORES, INC. and TARGET

CORPORATION, respectfully request that this Honorable Court enter a judgment

of no cause for action, together with an Order dismissing Plaintiff’s Complaint with

prejudice and awarding costs and fees so wrongfully incurred in the defense of this

matter.


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                            SEGAL McCAMBRIDGE SINGER &
                         MAHONEY


                                By: _________________________________
                                KENNETH P. WILLIAMS (P55790)
                                Attorney for Defendants
                                29100 Northwestern Hwy., Suite 240
                                Southfield, MI 48034
                                248-994-0060
Dated: July 7, 2021


     DEFENDANTS’ SPECIAL AND/OR AFFIRMATIVE DEFENSES

      NOW COME Defendants, TARGET STORES, INC. and TARGET

CORPORATION, by and through their attorneys, SEGAL MCCAMBRIDGE

SINGER & MAHONEY, by KENNETH P. WILLIAMS, and hereby assert as his

Special and/or Affirmative Defenses, if applicable, the following:

      1.    The Plaintiff has failed to state a claim upon which relief can be granted

pursuant to the Michigan Court Rules and the law of the state.

      2.    The Plaintiff has failed to mitigate his damages.

      3.    The Plaintiff has not sustained a serious impairment of body function

or a serious permanent disfigurement as a result of the subject accident, and

therefore, the claim for non-economic damages is barred by the Michigan No-Fault

Act, being MCL 500.3135.




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       4.     The injuries and damages allegedly sustained by the Plaintiff, if any,

were proximately caused by the negligence, gross negligence, and/or willful or

wanton misconduct of the Plaintiff and/or others not including these Defendants.

       5.     The negligence, gross negligence, and/or willful or wanton misconduct

of the Plaintiff and/or others not including the Defendants acted as an intervening

cause sufficient to warrant any claim against the Defendants.

       6.     The injuries and damages allegedly sustained by the Plaintiff did not

arise out of the subject accident and therefore were not in any way related to the

accident.

       7.     The Plaintiff’s claim is barred by the Michigan Statute of Limitations

and/or other applicable period of limitations.

       8.     The Defendants deny they breached any duties and further deny

negligence in any manner but state that all legal duties and obligations imposed by

operation of law and otherwise were strictly observed, and that all of the Defendants’

actions were careful, prudent, proper and lawful.

       9.     The Plaintiff assumed the risk of any injury or damage which logically

and naturally flowed from their negligent conduct in failing to act as a reasonable

person under the circumstances there existing, thus absolving Defendants from any

liability in this matter.




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         10.   The injuries and damages claimed by the Plaintiff are not related to,

connected with, or caused by any action or lack of action on the part of the

Defendants or any other person for whose action the Defendants may be legally

responsible.

         11.   The Plaintiff’s comparative negligence in proximately causing the

accident exceeds 50 percent, and therefore, the claim for non-economic damages is

barred as a matter of law pursuant to Michigan statute, and any claim for excess

economic damages must be reduced by the percentage of Plaintiff’s comparative

fault.

         12.   This Court lacks jurisdiction of the subject matter.

         13.   This Court lacks jurisdiction over the Defendants.

         14.   The venue is improper and/or the forum is inconvenient, and

Defendants reserve the right to file a motion relating thereto.

         15.   All damages sustained by the Plaintiff must be reduced by Plaintiff’s

comparative fault.

         16.   If the Defendants are determined to be responsible for any damages

sustained by the Plaintiff, which the Defendant denies, said Defendant’s liability is

proportional to the percentage of fault, only.




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      17.    The Plaintiff suffered from a pre-existing condition which, in whole or

in part, did not arise out of the subject accident and/or was not aggravated by the

subject accident.

      18.    There is no viable cause of action for loss of earning capacity against

the Defendants as a matter of law.

      19.    The Plaintiff’s claim is barred, in whole or in part by immunity granted

by law.

      20.    The Defendants will show upon Trial that Plaintiff is precluded from

recovery pursuant to MCLA 600.2955(a).

      21.    The sole proximate cause, or at least a contributing cause, of the

damages and/or injuries complained of by the Plaintiff was the negligence and/or

comparative negligence of yet unidentified third parties.

      22.    Any damages sought by the Plaintiff for economic loss, including but

without limitation, medical expenses, rehabilitation services, loss of earnings, loss

of earning capacity, or other economic loss, were paid or payable by a collateral

source, and the Defendants, therefore, are entitled to a set-off or a credit for the

amount of these damages, in accordance with the statutes in such case made and

provided, including MCL 600.6303.

      23.    The Plaintiff is barred from recovery for injury to their persons pursuant

to MCLA 600.2955(a) for the reason that Plaintiff had an impaired ability to function


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due to the influence of intoxicating liquor or a controlled substance, and as a result

of that impaired ability, Plaintiff was 50% or more the cause of the accident or event

that resulted in the claimed injuries.

      24.    All or part of the claim is barred by the Michigan No-Fault Act,

including but not limited to MCLA 500.3145(1) and (2).

      25.    The Defendant is are entitled to a credit or set off for any governmental

benefits paid to the Plaintiff pursuant to MCL 500.3109(1).

      26.    The injuries and damages allegedly sustained by the Plaintiff were not

in any way related to the subject accident.

      27.    The Defendants deny that they breached any of his duties and further

deny that Defendants were negligent in any manner, but states that they were guided

by and strictly observed all of their legal duties and obligations imposed by operation

of law and otherwise and that all of the actions of Defendants’ agents, servants and/or

employees were careful, prudent, proper and lawful.

      28.    The Plaintiff’s claim is barred by the Michigan Statute of Limitations

and/or other applicable period of limitations.

      29.    The venue in this forum is inconvenient to the parties and witnesses and

Defendants object to the same and reserves the right to file a motion relating thereto.

      30.    The Plaintiff’s claim is barred, in whole or in part by immunity granted

by law.


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       31.   The Plaintiff’s claim is barred based upon a Release executed by

Plaintiff.

       32.   The Defendants reserve the right to add any other special and/or

affirmative defenses which may become known or warranted during the course of

discovery or investigation.


                              SEGAL McCAMBRIDGE SINGER &
                           MAHONEY


                                 By: _________________________________
                                 KENNETH P. WILLIAMS (P55790)
                                 Attorney for Defendants
                                 29100 Northwestern Hwy., Suite 240
                                 Southfield, MI 48034
                                 248-994-0060
Dated: July 7, 2021

                          CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2021, a copy of the foregoing was filed and
served electronically via the Court’s electronic filing system (or, to the extent such
service could not be accomplished because the recipients are not yet registered for
electronic service, via first-class U.S. Mail, postage prepaid) to the following parties
and counsel:
             BRIAN L. FANTICH (P60935)
             CARRA J. STOLLER (64540)
             ADAM J. GANTZ (P58558)
             30903 Northwestern Hwy., Suite 270
             Farmington Hills, MI 48334


                                        /s/ Kimberly Ollila



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